                                                                                              CUSTODY
                        United States District Court
                    District of Massachusetts (Boston)
           CRIMINAL DOCKET FOR CASE #: 1:25ímjí03081íJDHí1

Case title: USA v. McIntire                                  Date Filed: 04/18/2025

Assigned to: Magistrate Judge Jessica
D. Hedges

Defendant (1)
Owen McIntire                           represented by Curtis Ray PouliotíAlvarez
                                                       Federal Public Defender
                                                       51 Sleeper Street
                                                       5th Floor
                                                       Boston, MA 02210
                                                       617í223í8061
                                                       Email: curtis_pouliotíalvarez@fd.org
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Assistant US Attorney

Pending Counts                                         Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                      Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                             Disposition
18 U.S.C. § 844(i)í MALICIOUS
DESTRUCTION OF PROPERTY;

26 U.S.C. §§5845(a)(8) and (f),
5861(d) and 5871í UNLAWFUL
POSSESSION OF AN
UNREGISTERED
FIREARMíDESTRUCTIVE

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DEVICE



Plaintiff
USA                                             represented by Eric L. Hawkins
                                                               DOJíUSAO
                                                               Moakley Federal Courthouse
                                                               1 Courthouse Way
                                                               Suite 9200
                                                               Boston, MA 02210
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                                                               LEAD ATTORNEY
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                                                               Designation: Assistant US Attorney

                                                               Sandra Gonzalez Sanchez
                                                               DOJíUSAO
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                                                               ATTORNEY TO BE NOTICED
Email All Attorneys
Email All Attorneys and Additional Recipients

 Date Filed     #   Docket Text
 04/18/2025     1   ELECTRONIC NOTICE of Case Assignment as to Owen McIntire; Magistrate Judge
                    Jessica D. Hedges assigned to case. (MM) (Entered: 04/22/2025)
 04/18/2025         Arrest (Rule 5) of Owen McIntire (MM) (Entered: 04/22/2025)
 04/18/2025     2   Rule 5(c)(3) Documents Received as to Owen McIntire (Attachments: # 1 Copy of
                    complaint, # 2 Affidavit) (MM) (Entered: 04/22/2025)
 04/18/2025     3   Electronic Clerk's Notes for proceedings held before Magistrate Judge Jessica D.
                    Hedges: Initial Appearance in Rule 5(c)(3) Proceedings as to Owen McIntire held on
                    4/18/2025; case called; USMJ Hedges informs the Dft. of his Rule 5 rights and
                    charges; Dft.submits cja 23 form and requests counsel; FD Alvarez is appointed for the
                    proceeding in this district; the United States is ordered to disclose all exculpatory
                    information, in a timely manner, to the defendant; the Govt. states the maximum
                    penalties and moves for detention under 18 USC 3142(f)(1)(a),(f)(1)(e) and 18 USC
                    3142(f)(2)(A); the Dft. requested the detention hearing be scheduled for 4/22/25 @
                    12:00pm.; USMJ Hedges ordered the Dft. remanded to the custody of the US Marshal
                    pending a hearing on 4/22/25. (Attorneys present: AUSA Hawkins and FD Alvarez.
                    )Court Reporter Name and Contact or digital recording information: Digital
                    Recording. To order a copy of this Digital Recording, please email the Court at
                    https://forms.mad.uscourts.gov/Audio.html . For a transcript of this proceeding,
                    contact the Court by email at mad_transcripts@mad.uscourts.gov. (TFQ) (Entered:


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                  04/22/2025)
04/18/2025   6    Magistrate Judge Jessica D. Hedges: ORDER entered. ORDER APPOINTING
                  FEDERAL DEFENDER PROGRAM as to Owen McIntire (TFQ) (Entered:
                  04/22/2025)
04/18/2025   7    Magistrate Judge Jessica D. Hedges: ORDER entered. ORDER PURSUANT TO
                  FEDERAL RULE OF CRIMINAL PROCEDURE 5(f) entered as to Owen McIntire.
                  (TFQ) (Entered: 04/22/2025)
04/22/2025   4    NOTICE OF ATTORNEY APPEARANCE: Curtis Ray PouliotíAlvarez appearing
                  for Owen McIntire. Type of Appearance: Federal Defender Office. (PouliotíAlvarez,
                  Curtis) (Entered: 04/22/2025)
04/22/2025    8   ELECTRONIC NOTICE OF HEARING as to Owen McIntire Detention hearing set
                  for 4/24/2024 at 10:00 AM in Courtroom 15 (In person only) before Magistrate Judge
                  Jessica D. Hedges. Counsel for Mr. McIntire shall file a proposed plan for release at
                  least one day before the scheduled detention hearing. The plan for release need not
                  include an extensive recitation of applicable law, but it must set forth in reasonable
                  detail Mr. McIntires plan for release and the proposed conditions of such release,
                  including, but not limited to, Mr. McIntires proposed residence upon release, the status
                  of his employment, his ties to the community, and a description of programs or
                  resources which he may rely upon to support his compliance with the conditions of
                  release. Before the hearing, counsel for Mr. McIntire and for the Government shall
                  meaningfully confer with each other and with the U.S. Office of Probation and Pretrial
                  Services regarding Mr. McIntires plan for release. Counsel for the Government shall
                  be prepared to explain at the hearing why Mr. McIntires proposed conditions of release
                  are insufficient under 18 U.S.C. § 3142(TFQ) (Entered: 04/22/2025)
04/22/2025    9   NOTICE OF ATTORNEY APPEARANCE Sandra Gonzalez Sanchez appearing for
                  USA. (Gonzalez Sanchez, Sandra) (Entered: 04/22/2025)
04/23/2025   10   Memorandum regarding Opposition to Government's Motion for Detention and Notice
                  of Proposed Release Plan as to Owen McIntire (PouliotíAlvarez, Curtis) (Entered:
                  04/23/2025)
04/24/2025   11   Electronic Clerk's Notes for proceedings held before Magistrate Judge Jessica D.
                  Hedges: Detention Hearing as to Owen McIntire held on 4/24/2025; case called;
                  counsel have agreed to proceed via proffer; Dft. waives identity hearing and
                  preliminary hearing; the Govt. proffers evidence and makes argument for detention;
                  the Dft. makes argument for release and proffers conditions of release; USMJ Hedges
                  makes finding Dft. can be released, sets conditions of release and orders the Dft. to
                  appear in the charging district, Thursday, 5/1/25 at 1:00 p.m. (CST). The hearing will
                  be in front of the Honorable Jill A. Morris,Courtroom 7E, Charles Evans Whittaker
                  United States Courthouse, 400 East Ninth Street, Kansas City, MO 64106 (Attorneys
                  present: AUSA Sanchez and FD Alvarez. )Court Reporter Name and Contact or digital
                  recording information: Digital Recording. To order a copy of this Digital Recording,
                  please email the Court at https://forms.mad.uscourts.gov/Audio.html . For a transcript
                  of this proceeding, contact the Court by email at mad_transcripts@mad.uscourts.gov.
                  (TFQ) (Entered: 04/24/2025)
04/24/2025   12   Magistrate Judge Jessica D. Hedges: ORDER entered. ORDER Setting Conditions of
                  Release as to Owen McIntire. (TFQ) (Entered: 04/24/2025)
04/24/2025   13   WAIVER of Rule 5 and 5.1 Hearings by Owen McIntire (TFQ) (Entered: 04/28/2025)


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04/28/2025   14   Magistrate Judge Jessica D. Hedges: ORDER to Appear in the Western District of
                  Missouri entered. as to Owen McIntire (TFQ) (Entered: 04/28/2025)




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